           Case 2:10-cr-00042-TLN Document 95 Filed 05/27/10 Page 1 of 3


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    KEIT TRAN
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr. S 10-042 MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION TO MODIFY CONDITIONS
13        v.                         )     OF RELEASE PURSUANT TO 18 USC
                                     )     §3145(a); ORDER
14   KEIT TRAN,                      )
                                     )
15                  Defendant.       )
                                     )     Judge: Hon. Morrison C. England
16   _______________________________ )
17
18        Keit Tran was released on February 5, 2010 under strict
19   conditions.    One of those conditions was that he be placed on “Home
20   Incarceration”.   This condition has restricted him to his residence at
21   all times except for medical needs, religious services and court
22   appearances.   While on release, Mr. Tran has been subject to drug
23   testing and other requirements.      There have been no violations of his
24   release conditions.
25        Mr. Tran has custody of his son on the weekends.          He would like to
26   be able to take his son to the movies or a local park during the times
27   he has custody.   Mr. Tran would also like to try and find work to help
28   support the family.   Based on his behavior since he was released, his
              Case 2:10-cr-00042-TLN Document 95 Filed 05/27/10 Page 2 of 3


1    pretrial service office believes that a change to Home Detention1
2    rather than Home Incarceration would be appropriate.            His pretrial
3    service officer has consulted with both parties regarding a
4    modification of the release conditions.
5         The parties have agreed to recommend a modification of the
6    conditions of Mr. Tran’s release as indicated on the attached list of
7    conditions prepared by pretrial services.          The amendment would only
8    change Home Incarceration to Home Detention and would require Mr. Tran
9    to seek or maintain employment as approved by his pretrial services
10   officer.    All other conditions would remain the same.           The parties are
11   requesting, pursuant to 18 U.S.C. 3145(a) that the Court order this
12   modification and impose the new, amended conditions of release as
13   provided in the attachment to this stipulation.
14   Dated:     May 24, 2010
                                               Respectfully submitted,
15
                                               DANIEL J. BRODERICK
16                                             Federal Defender
17
18                                             /s/ Linda C. Harter
                                               LINDA C. HARTER
19                                             Chief Assistant Federal Defender
                                               Attorney for Defendant
20                                             KEIT TRAN
21
22   Dated:     May 24, 2010                   BENJAMIN WAGNER
                                               United States Attorney
23
24                                             /s/ Linda C. Harter for
                                               JASON HITT
25                                             Assistant United States Attorney
26
27        1
           Home Detention would restrict Mr. Tran to his residence except
     for medical needs, religious services, court appearances, employment,
28   education, and other activities pre-approved by the pretrial services
     officer.
                                              -2-
           Case 2:10-cr-00042-TLN Document 95 Filed 05/27/10 Page 3 of 3


1                                         ORDER
2         Good cause appearing and for the reasons stated in the stipulation
3    of the parties, the conditions of Mr. Keith Tran’s release are hereby
4    modified pursuant to 18 U.S.C. § 3145(a).       The new conditions of
5    release are those set forth in the Amended Release Conditions dated May
6    18, 2010 and attached to the parties stipulation.
7
     Dated: May 26, 2010
8
9                                         _____________________________
                                          MORRISON C. ENGLAND, JR.
10
                                          UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                           -3-
